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                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NEW HAMPSHIRE

In re:                                                                  Bk. No. 20-10027-BAH
                                                                        Chapter 7
Kelly Thompson,
             Debtor

Kelly Thompson,
             Plaintiff
v.                                                                      Adv. No. 20-1016-BAH

United States Department of Education,
               Defendant

                                              ORDER

         The Court has before it an Assented-To Motion for Order Amending Pretrial Scheduling

Order and to Continue Final Pretrial Conference (Doc. No. 63) (the “Motion”) wherein the

United States indicates that the parties’ settlement has fallen through. With the Plaintiff’s assent,

the United States requests that the final pretrial conference be continued and that the deadline for

filing a final pretrial statement be extended. It appears from the docket that discovery closed in

June 2021, and that the only remaining deadline in the amended pretrial order is the filing of a

pretrial statement.

         Therefore, the Motion is hereby granted in part and denied in part. The Court will hold

the final pretrial conference on February 16, 2022, at 1:30 p.m. as scheduled. The deadline for

filing a final pretrial statement is hereby suspended pending the hearing. At the hearing, the

Court will set a deadline for filing the final pretrial statement, schedule this matter for trial, and

address any other issues that the parties wish to address.

         ENTERED at Concord, New Hampshire.

Date: February 4, 2022                          /s/ Bruce A. Harwood
                                                Bruce A. Harwood
                                                Chief Bankruptcy Judge
